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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

SAMUEL KATZ, an individual, on his                   )
own behalf and on behalf of all others               )
similarly situated,                                  )
                Plaintiff,                           )
                                                     )
v.                                                   )          Case No. 1:18-cv-10506-ADB
                                                     )
LIBERTY POWER CORP., LLC,                            )
LIBERTY POWER HOLDINGS, LLC,                         )
Delaware limited liability companies,                )
DAVID HERNANDEZ and ALBERTO                          )
DAIRE, individuals,                                  )
              Defendants.                            )
                                                     )

                                  NOTICE OF APPEARANCE

TO THE CLERK OF COURT:

         Please enter the appearance of the undersigned attorney, Craig R. Waksler, as counsel on

behalf of the Defendants Liberty Power Corp., LLC, Liberty Power Holdings, LLC, David

Hernandez, and Alberto Daire.

                                      Respectfully submitted,

                                      LIBERTY POWER CORP., LLC, LIBERTY
                                      POWER HOLDINGS, LLC, DAVID HERNANDEZ,
                                      AND ALBERTO DAIRE,

                                      By their attorneys,

                                      /s/ Craig R. Waksler
                                      Craig R. Waksler (BBO #566087)
                                      Pamela C. Rutkowski (BBO #681618)
                                      ECKERT SEAMANS CHERIN & MELLOTT, LLC
                                      Two International Place, 16th Floor
                                      Boston, MA 02110-2602
                                      Telephone: 617.342.6800
                                      Facsimile: 617.342.6899
                                      cwaksler@eckertseamans.com
Dated: April 4, 2018                  prutkowski@eckertseamans.com


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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to the non-registered participants.

Date: April 4, 2018                   /s/ Craig R. Waksler
                                      Craig R. Waksler




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